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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

ROY HOROWITZ
Hillsborough, NJ 08844, CIVIL ACTION NO.:

LINDA LARSON 3:17-cv-04827-BRM-LHG

Lake Havasu City, AZ 86406,
KEMPTEN POLLARD
Bradenton, FL 34209,
KATHERINE SEAMAN
Bernardsville, NJ 07924,
and
KATHLEEN SWEENEY

Blackwood, NJ 08012, CERTIFICATION OF

on behalf of themselves individually JAMES BUCCI. ESQUIRE
and on behalf of those similarly situated, " » ESQ ,

Plaintiffs,
-~against-

AT&T INC.
208 S. Akard St.
Dallas, TX 75202,
AT&T CORP.
One AT&T Way
Bedminster, NJ 07921,
AT&T SERVICES, INC.
208 S. Akard St.
Dallas, TX 75202,
and
AT&T MOBILITY SERVICES LLC
1025 Lenox Park Blvd NE
Atlanta, GA 30319,

Defendants.

 

 
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I, JAMES BUCCI, of full age, hereby certify as follows:

I. I am an attorney licensed in the State of New Jersey and a Partner at
the law firm Genova Burns, LLC.

2. I make this Certification in connection with the Rule 7.1 Corporate
Disclosure Statement that I filed on September 25, 2017 on behalf of Defendant,
AT&T Corp., in connection with the above-captioned matter.

3, The Rule 7.1 Corporate Disclosure Statement of AT&T Corp. was
inadvertently filed “under seal”.

4, I hereby request that the “under seal” designation be removed and that
the docket reflect the same.

5. I hereby certify that the foregoing statements made by me are true. I
am aware that if any of the foregoing statements made by me are willfully false, I

am subject to punishment.

Dated: September 26, 2107 By: __/s/ James Bucci
James Bucci
Genova Burns LLC
2 Riverside Drive, Suite 502
Camden, NJ 08103
Phone: (856) 968-0686
Fax: (856) 968-0680
jbucci@genovaburns.com

Attorneys for AT&T Corp.
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CERTIFICATE OF SERVICE
I hereby certify that on September 26, 2017, a copy of the foregoing
Certification was filed electronically and served by mail on anyone unable to
accept electronic filing. Notice of this filing will be sent by e-mail to all parties by
operation of the Court’s electronic filing system or by mail to anyone unable to
accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
access this filing through the Court’s CM/ECF System.

/s/ James Bucci
